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                        ANTONIO J. GRACIAS, JAMES MURDOCH,
                    7   KIMBAL MUSK, and LINDA JOHNSON RICE
                    8
                                                     UNITED STATES DISTRICT COURT
                    9
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   10
                                                         SAN FRANCISCO DIVISION
                   11

                   12
                                                                            Case No. 3:18-cv-04865-EMC
                   13   IN RE TESLA, INC. SECURITIES
                        LITIGATION                                          JOINT CASE MANAGEMENT
                   14                                                       STATEMENT

                   15                                                       Date:       September 3, 2020
                                                                            Time:       10:30 a.m.
                   16                                                       Judge:      Hon. Edward M. Chen

                   17

                   18          Lead Plaintiff Glen Littleton (“Lead Plaintiff”) and Defendants Tesla, Inc., Elon Musk, Brad

                   19   W. Buss, Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias, James Murdoch, Kimbal Musk, and

                   20   Linda Johnson Rice (“Defendants”) (collectively, Lead Plaintiff and Defendants are referred to as

                   21   the “Parties”) submit this Joint Case Management Statement under the Standing Order for All

                   22   Judges of the Northern District of California and Civil Local Rule 16-10(d).

                   23          The last case management conference in this matter occurred on May 29, 2020, during
                   24   which the Court ordered a further case management conference to occur on September 3, 2020. On
                   25   May 31, 2020, the Court issued a Case Management and Pretrial Order for Jury Trial. (ECF No.
                   26   261.) On June 22, 2020, Defendants answered Lead Plaintiff’s Consolidated Complaint for
                   27   Violations of the Federal Securities Laws. (ECF No. 264.)
                   28
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                    1            In general, Lead Plaintiff alleges that, during the proposed class period (August 7 to August
                    2   17, 2018), certain statements by Musk and/or Tesla concerning a potential take-private transaction
                    3   were materially false or misleading (including omissions of alleged facts), in violation of Section
                    4   10(b) of the Securities Exchange Act of 1934 (the “1934 Act”). Lead Plaintiff further alleges that
                    5   the director defendants bear liability as control persons of Tesla under Section 20(a) of the 1934
                    6   Act. Defendants deny Lead Plaintiff’s allegations and deny that any of them bear liability to Lead
                    7   Plaintiff or the alleged class.
                    8   1 - 6.   JURISDICTION AND SERVICE, FACTS, LEGAL ISSUES,                                  MOTIONS,
                    9            AMENDMENT OF PLEADINGS, EVIDENCE PRESERVATION.

                   10            There have been no updates to these categories since the Parties’ last joint case management
                   11   statement, filed May 22, 2020. (ECF No. 256.)
                   12   7.       DISCLOSURES.
                   13            On June 30, 2020, the Parties timely served their initial disclosures pursuant to Fed. R. Civ.
                   14   P. 26(a). Lead Plaintiff disclosed the individuals likely to have discoverable information, the
                   15   contact information for such individuals, the subject matters that such individuals may have
                   16   discoverable information on, and documents and information that Lead Plaintiff may use to support
                   17   his claims. Defendants disclosed the individuals likely to have discoverable information, the
                   18   subject matters that such individuals may have discoverable information on, categorical
                   19   descriptions and locations of documents, electronically stored information and tangible things, and
                   20   any insurance agreements.
                   21   8.       DISCOVERY.
                   22            Lead Plaintiff served the U.S. Securities and Exchange Commission with a subpoena to
                   23   produce documents on June 5, 2020. Pursuant to Lead Plaintiff’s June 5, 2020 subpoena, the SEC
                   24   produced responsive documents on July 10, 2020. Lead Plaintiff is in the process of reviewing
                   25   the documents received from the SEC.
                   26            On July 8, 2020, Defendants served their First Request for Production of Documents. Lead
                   27   Plaintiff served his responses and objections on August 7, 2020 and is in the process of producing
                   28   documents.
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                    1          On July 10, 2020, Lead Plaintiff served his First Set of Requests for Production. Defendants

                    2   served their responses and objections on August 24, 2020 and are in the process of producing

                    3   documents.

                    4          The Parties are negotiating the terms of an ESI stipulation and expect to provide the Court

                    5   with a proposed stipulated order shortly.

                    6          Discovery is still in the preliminary stages. Remaining Discovery includes document

                    7   discovery, depositions, and third-party discovery.

                    8          The Parties continue to conduct discovery in good faith and have identified no discovery

                    9   disputes to date. The Parties agree to meet and confer in good faith if any dispute arises.

                   10   9 - 11. CLASS ACTIONS, RELATED CASES, RELIEF.

                   11          There have been no updates to these categories since the Parties’ last joint case management

                   12   statement, filed May 22, 2020. (ECF No. 256.)

                   13   12.    SETTLEMENT AND ADR.

                   14          The Parties continue to agree that settlement negotiations would be premature at least until

                   15   class certification briefing is complete, and are in the process of discussing potential ADR venues

                   16   and platforms with their respective clients.

                   17   13 - 16. CONSENT TO MAGISTRATE JUDGE FOR ALL PROCEEDINGS, OTHER
                              REFERENCES, NARROWING OF ISSUES, EXPEDITED TRIAL PROCEDURE.
                   18

                   19          There have been no updates to these categories since the Parties’ last joint case management

                   20   statement, filed May 22, 2020. (ECF No. 256.)

                   21   17.    SCHEDULING.

                   22          On May 31, 2020, the Court issued a Case Management and Pretrial Order for Jury Trial.

                   23   (ECF No. 261.) At this time, the Parties do not propose altering any deadlines set forth in the Case

                   24   Management and Pretrial Order for Jury Trial. (ECF No. 261.)

                   25   18.    TRIAL.

                   26          On May 31, 2020, the Court issued a Case Management and Pretrial Order for Jury Trial,

                   27   setting as the trial date May 31, 2022. (ECF No. 261.)

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                    1   19.    DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS.
                    2          There has been no update to this category since the Parties’ last joint case management
                    3   statement, filed May 22, 2020. (ECF No. 256.)
                    4   20.    SUBSTITUTION OF COUNSEL                      AND    CERTIFICATION           REGARDING
                    5          PROFESSIONAL CONDUCT.

                    6          On August 18, 2020, Defendants notified the Court that they have retained Cooley LLP to
                    7   substitute as counsel for Fenwick & West LLP. (ECF No. 270.) The Court entered an order
                    8   approving the substitution of counsel on August 21, 2020. (ECF No. 271.) Counsel of record from
                    9   Cooley LLP certify that they have reviewed the Guidelines for Professional Conduct for the
                   10   Northern District of California. In addition to the attorneys from Cooley LLP who have filed
                   11   notices of appearance to date, other attorneys from Cooley LLP will shortly submit applications for
                   12   admission to the Court pro hac vice. The Parties do not anticipate Defendants’ change of counsel
                   13   requiring a modification to the Case Management and Pretrial Order for Jury Trial. (ECF No. 261.)
                   14    Dated: August 27, 2020                        COOLEY LLP
                   15                                                  By: /s/ Patrick E. Gibbs
                   16                                                      Patrick E. Gibbs

                   17                                                  STEPHEN C. NEAL (170085)
                                                                       PATRICK E. GIBBS (183174)
                   18
                                                                       Attorneys for Defendants Tesla, Inc., Elon Musk,
                   19                                                  Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,
                                                                       Antonio J. Gracias, James Murdoch, Kimbal
                   20
                                                                       Musk, and Linda Johnson Rice
                   21
                         Dated: August 27, 2020                        LEVI & KORSINSKY, LLP
                   22
                                                                       By: /s/ Adam M. Apton
                   23                                                      Adam M. Apton
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                   25                                                  ADAM C. MCCALL (SBN 302130)
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                   11
                                                                      Attorneys for Lead Plaintiff Glen Littleton and
                   12                                                 Lead Counsel for the Class

                   13

                   14         Pursuant to Civil Local Rule No. 5-1(i)(3), all signatories concur in filing this Joint Case

                   15   Management Statement.

                   16   Dated: August 27, 2020                             COOLEY LLP
                   17                                                      By: /s/ Patrick E. Gibbs
                   18                                                          PATRICK E. GIBBS

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